  Case 18-19054-JNP                 Doc 403         Filed 07/11/18 Entered 07/11/18 17:53:58                                  Desc Main
                                                   Document     Page 1 of 45


UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1
PORZIO, BROMBERG & NEWMAN, P.C.
                                                                                                     Order Filed on July 11, 2018 by
100 Southgate Parkway                                                                                 Clerk U.S. Bankruptcy Court
                                                                                                         District of New Jersey
P.O. Box 1997
Morristown, New Jersey 07962
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Counsel to the Debtors
                                                                                     Case No.: 18-19054 (JNP)
In Re:
                                                                                     (Jointly Administered)
                                                                                1
Garces Restaurant Group, Inc., d/b/a Garces Group, et al.,
                                                                                     Chapter: 11
                             Debtors.
                                                                                     Judge: Jerrold N. Poslusny, Jr.

             ORDER (I) APPROVING ASSET PURCHASE AGREEMENT AND
             AUTHORIZING THE SALE OF CERTAIN ASSETS OF THE DEBTORS
             OUTSIDE OF THE ORDINARY COURSE OF BUSINESS; (II)
             AUTHORIZING THE SALE OF ASSETS FREE AND CLEAR OF ALL
             LIENS, CLAIMS AND INTERESTS; (III) AUTHORIZING THE
             ASSUMPTION AND ASSIGNMENT OR REJECTION OF CERTAIN
             EXECUTORY CONTRACTS AND UNEXPIRED LEASES; (IV)
             APPROVING A COMPROMISE AND SETTLEMENT PURSUANT TO
             BANKRUPTCY RULE 9019 AS EMBODIED BY THE TERM SHEET; (V)
             PROVIDING FOR DISTRIBUTION OF FUNDS; AND (VI) GRANTING
             RELATED RELIEF

             The relief set forth on the following pages, numbered two (2) through thirty-three (33), is

   hereby ORDERED.
       DATED: July 11, 2018




   1
    The Debtors in these cases and the last four digits of their employee identification numbers are: GRGAC1, LLC d/b/a Amada (7047); GRGAC2,
   LLC d/b/a Village Whiskey (7079); GRGAC3, LLC d/b/a Distrito Cantina (7109); GRGAC4, LLC (0542); Garces Restaurant Group, Inc. d/b/a
   Garces Group (0697); Latin Valley 2130, LLC; La Casa Culinary, LLC d/b/a Amada Restaurant (4127); Garces Catering 300, LLC d/b/a Garces
   Catering (3791); Latin Quarter Concepts, LLC d/b/a Tinto d/b/a Village Whiskey (0067); UrbanFarm, LLC d/b/a JG Domestic (3014); GR300,
   LLC d/b/a Volver (0347); GRG2401, LLC (7222); GRGChubb1, LLC (8350); GRGKC1, LLC; GRGWildwood, LLC (9683); and GRGNY2,
   LLC (0475); GRGDC2, LLC d/b/a Latin Market (8878); GRGBookies, LLC (4779); and GRGAC5, LLC (9937).


   3990794
   PHIL1 7115442v.2
Case 18-19054-JNP                  Doc 403         Filed 07/11/18 Entered 07/11/18 17:53:58                                    Desc Main
                                                  Document     Page 2 of 45
 Page: 2
 Debtors:             Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
 Case No.:            18-19054 (JNP)
 Caption:             Order (I) Approving Asset Purchase Agreement and Authorizing the Sale of Certain Assets of the
                      Debtors Outside of the Ordinary Course of Business; (II) Authorizing The Sale of Assets Free and
                      Clear of All Liens; (III) Authorizing the Assumption and Assignment or Rejection of Certain
                      Executory Contracts and Unexpired Leases; (IV) Approving A Compromise And Settlement
                      Pursuant To Bankruptcy Rule 9019 As Embodied By The Term Sheet; (V) Providing For
                      Distribution Of Funds; and (VI) Granting Related Relief

           Upon the Debtors' (I) motion for entry of an order (A) approving the sale of substantially

 all of the Debtors' assets; (B) approving bidding procedures and the form, manner and

 sufficiency of notice; (C) scheduling (1) an auction sale and (2) a hearing to consider approving

 the highest and best offer; (D) approving procedures for assumption and assignment of executory

 contracts and unexpired leases and (E) granting related relief [Docket No. 64] (the "Sale

 Motion"), and (II) motion for an order (A) approving a compromise and settlement by and

 among the Debtors and Debtors-In-Possession (severally and collectively, the "Debtors"), the

 Committee, M&T Bank, 3BM1, LLC, and Jose Garces (collectively, the "Settling Parties") under

 Rule 9019 of the Federal Rules of Bankruptcy Procedure (the "Bankruptcy Rules"), the terms of

 which are attached hereto as Exhibit 1 (the "Term Sheet"); (B) providing for distribution of

 funds; and (C) granting related relief [Docket No. 364] (the "9019 Motion", and together with

 the Sale Motion referred to herein collectively as the "Motions");2 and the Court having entered

 an order, inter alia, approving bidding procedures [Docket No. 236] (the "Bidding Procedures

 Order"); and the Auction having been scheduled for June 26, 2018, at which only 3BM1, LLC

 appeared and no other bidders appeared; and the Debtors having determined, in consultation with

 the Committee and M&T Bank, that the highest and otherwise best offer for the Acquired Assets

 was made by 3BM1, LLC (the "Successful Bidder" or "Buyer"); and the Court having held a

 hearing on July 9, 2018 to consider the Motions; and the Court having found that (i) the Court

 has jurisdiction to consider the Motions in accordance with 28 U.S.C. §§ 157 and 1334; (ii)

 2
  Except where otherwise indicated, capitalized terms used but not defined shall have the meanings ascribed to them in the Motions, the Bidding
 Procedures Order, or the Agreement (defined below), as applicable.
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 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                          Document     Page 3 of 45
 Page: 3
 Debtors:           Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
 Case No.:          18-19054 (JNP)
 Caption:           Order (I) Approving Asset Purchase Agreement and Authorizing the Sale of Certain Assets of the
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                    Pursuant To Bankruptcy Rule 9019 As Embodied By The Term Sheet; (V) Providing For
                    Distribution Of Funds; and (VI) Granting Related Relief
 venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409; and (iii) consideration of

 the Motions (the "Sale Hearing"), the relief requested therein, and the response thereto being a

 core proceeding pursuant to 28 U.S.C. § 157(b); and the Court having considered the Motions,

 their supporting materials, and all responses thereto and the arguments of counsel and the

 evidence proffered or adduced at the Sale Hearing; and after due deliberation thereon; and it

 appearing that the entry of this order (the "Order") and granting the relief set forth herein are in

 the best interests of the Debtors, their estates, their creditors, and all other parties in interest; and

 after due deliberation and for good and sufficient cause having been shown,

         IT IS HEREBY FOUND AND DETERMINED THAT:

         A.         The findings and conclusions set forth herein constitute the Court's findings of

 fact and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to this

 proceeding pursuant to Bankruptcy Rule 9014.                  To the extent any findings of fact herein

 constitute conclusions of law, they are adopted as such. To the extent any conclusions of law

 herein constitute findings of fact, they are adopted as such.

         B.         The Court has jurisdiction over the Motions and the transactions contemplated by

 the Term Sheet and the Agreement (defined below) pursuant to 28 U.S.C. §§ 157 and 1334 and

 the Standing Order of Reference from the United States District Court for the District of New

 Jersey, dated September 18, 2012, and this matter is a core proceeding pursuant to 28 U.S.C. §

 157(b). Venue in this district is proper under 28 U.S.C. §§ 1408 and 1409.

         C.         The statutory and rule bases for the relief requested in the Motions are (i) title 11

 of the United States Code (the "Bankruptcy Code") §§ 105, 349, 363 and 365 and/or 1112 and
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 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                          Document     Page 4 of 45
 Page: 4
 Debtors:           Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
 Case No.:          18-19054 (JNP)
 Caption:           Order (I) Approving Asset Purchase Agreement and Authorizing the Sale of Certain Assets of the
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                    Distribution Of Funds; and (VI) Granting Related Relief
 (ii) Bankruptcy Rules 2002(a)(2), 6004, 6006, 9014, 9019 and Local Rules for the United States

 Bankruptcy Court District of New Jersey (the "Local Rules") 6004-1 and 6004-2.

           D.       As evidenced by the certificates of service filed with the Court, proper, timely,

 adequate, and sufficient notice of, and a reasonable opportunity to object or otherwise to be

 heard regarding: the Motions, the Auction, the Sale Hearing, and the transactions contemplated

 by (i) the Term Sheet and (ii) the Amended and Restated Asset Purchase Agreement effective as

 of May 9, 2018 by and among Debtors as sellers and the Successful Bidder as buyer attached to

 the Bidding Procedures Order (including all schedules and exhibits affixed thereto and all other

 ancillary documents, and as modified by the Bidding Procedures Order, the Term Sheet and this

 Order) (the "Agreement"), including the sale of the Debtors' Acquired Assets (the "Sale"), the

 assumption and assignment of the Transferred Contracts, the releases, and distribution of funds,

 has been provided. No other or further notice of, opportunity to object to, or other opportunity to

 be heard regarding, the Motions, the Sale Hearing, or the entry of this Order need be given to any

 entity.

           E.       The Term Sheet represents a fair, prudent, and reasonable compromise of the

 controversies resolved therein and is in the best interests of the Debtors' estates and creditors,

 taking into account, among other things, the probability of success on the claims being

 compromised as part of the Term Sheet, and the complexity of the litigation involved with

 respect to the claims being compromised as part of the Term Sheet.

           F.       The Settling Parties have demonstrated good, sufficient, and sound business

 purpose and justification in entering into the Term Sheet.
                                                          4

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                          Document     Page 5 of 45
 Page: 5
 Debtors:           Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
 Case No.:          18-19054 (JNP)
 Caption:           Order (I) Approving Asset Purchase Agreement and Authorizing the Sale of Certain Assets of the
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                    Pursuant To Bankruptcy Rule 9019 As Embodied By The Term Sheet; (V) Providing For
                    Distribution Of Funds; and (VI) Granting Related Relief
         G.         The Term Sheet was negotiated, proposed, and entered into by the Settling Parties

 without collusion, in good faith, and from arms' length bargaining positions.

         H.         The Debtors have demonstrated a sufficient basis and compelling circumstances

 requiring them to enter into the Agreement, sell the Acquired Assets and assume and assign the

 Transferred Contracts under Bankruptcy Code sections 363 and 365 prior to confirmation of a

 plan of reorganization under Bankruptcy Code section 1129, and such actions are appropriate

 exercises of their reasonable business judgment and in the best interests of the Debtors, their

 estates and their creditors.

         I.         The Debtors and their professionals actively marketed the Acquired Assets and

 conducted the sale process in accordance with the Bidding Procedures Order, and offered

 potential bidders a full and fair opportunity to obtain due diligence materials and information, to

 qualify as bidders and to make higher and better offers.

         J.         The Auction was held on June 26, 2018 pursuant to procedures established in

 good faith and in compliance with the Bidding Procedures Order, and afforded a full, fair, and

 reasonable opportunity for any party that submitted a timely Qualified Bid to make a higher or

 otherwise better offer for the Acquired Assets than that of the Successful Bidder. The Debtors

 determined that the Successful Bidder's bid for the Acquired Assets, as described in the

 Agreement, was the highest or otherwise best bid and best value for the Acquired Assets and will

 provide a greater recovery for the Debtors' estates than would be provided by any other practical

 alternative. No other entity or group of entities has offered to purchase the Acquired Assets for

 greater economic value to the Debtors' estates than the Successful Bidder.
                                                          5

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                          Document     Page 6 of 45
 Page: 6
 Debtors:           Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
 Case No.:          18-19054 (JNP)
 Caption:           Order (I) Approving Asset Purchase Agreement and Authorizing the Sale of Certain Assets of the
                    Debtors Outside of the Ordinary Course of Business; (II) Authorizing The Sale of Assets Free and
                    Clear of All Liens; (III) Authorizing the Assumption and Assignment or Rejection of Certain
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                    Pursuant To Bankruptcy Rule 9019 As Embodied By The Term Sheet; (V) Providing For
                    Distribution Of Funds; and (VI) Granting Related Relief
         K.         The offer to purchase the Acquired Assets made by the Successful Bidder, under

 the terms and conditions set forth in the Agreement: (i) is the highest or otherwise best offer

 obtained for the Acquired Assets; (ii) is for fair, adequate, and sufficient consideration that

 constitutes reasonably equivalent value for the Acquired Assets being conveyed to the Successful

 Bidder; (iii) is fair and reasonable; (iv) was not made for the purpose of hindering, delaying or

 defrauding creditors under the Bankruptcy Code or under the laws of the United States, any state,

 territory, possession or the District of Columbia; (v) is in the best interests of the Debtors'

 estates, creditors, and other parties in interest; and (vi) would not have been made by the

 Successful Bidder absent the protections afforded to the Successful Bidder by the Bidding

 Procedures Order, the Agreement, the Bankruptcy Code, and this Order.

         L.         The Successful Bidder has offered to purchase the Acquired Assets free and clear

 of all Liens (as defined below), excluding any Assumed Liabilities as provided in the Agreement,

 with the same to attach to the proceeds of the Sale, if any, with the same validity and priority and

 to the same extent as existed before the Sale. If the sale of the Acquired Assets to the Successful

 Bidder were not free and clear of all Liens, or if the Successful Bidder would, or in the future

 could, be liable for any Liens, the Successful Bidder would not have entered into the Agreement

 and would not consummate the Sale or the transactions contemplated by the Agreement, thus

 adversely affecting the Debtors, their estates, and their creditors.

         M.         Each entity with a Lien (as defined below) in any of the Acquired Assets to be

 transferred on the Closing Date (i) has consented to, or is deemed to have consented to, the Sale

 free and clear of such Lien, subject to approval of the settlement set forth in the Term Sheet, (ii)
                                                          6

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                          Document     Page 7 of 45
 Page: 7
 Debtors:           Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
 Case No.:          18-19054 (JNP)
 Caption:           Order (I) Approving Asset Purchase Agreement and Authorizing the Sale of Certain Assets of the
                    Debtors Outside of the Ordinary Course of Business; (II) Authorizing The Sale of Assets Free and
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                    Pursuant To Bankruptcy Rule 9019 As Embodied By The Term Sheet; (V) Providing For
                    Distribution Of Funds; and (VI) Granting Related Relief
 could be compelled in a legal or equitable proceeding to accept money in satisfaction of such

 Lien, or (iii) otherwise falls within the provisions of section 363(f) of the Bankruptcy Code and

 has been satisfied as to all such Liens. Those holders of Liens who did not object, or who

 withdrew their objections, to the Sale or the Motions are deemed to have consented to entry of

 this Order pursuant to section 363(f)(2) of the Bankruptcy Code. Not selling the Acquired Assets

 free and clear of all Liens would adversely impact the Debtors' estates, and any sale of the

 Acquired Assets other than one free and clear of all Liens would be of substantially less value to

 the Debtors' estates. Therefore, approval of the Agreement and consummation of the Sale free

 and clear of Liens is appropriate pursuant to section 363(f) of the Bankruptcy Code.

         N.         The Debtors are the sole and lawful owner of, and have clear and marketable title

 to, the Acquired Assets to be sold pursuant to the Agreement. Debtors have full corporate power

 and authority to execute, deliver, and perform under the Agreement and to consummate all

 transactions contemplated thereby, without any further consent or approval required. No other

 consents or approvals, other than as may be expressly provided for in the Agreement or this

 Order, are required by the Debtors.

         O.         The Agreement and the transactions contemplated thereunder were negotiated and

 entered into in good faith within the meaning of section 363(m) of the Bankruptcy Code, based

 on arms-length bargaining, and without collusion or fraud of any kind. Neither the Debtors nor

 the Successful Bidder have engaged in any conduct that would prevent the application of section

 363(m) of the Bankruptcy Code, or cause the application of or implicate section 363(n) of the

 Bankruptcy Code to the Agreement or to the consummation of the Sale and transfer of the
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 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                          Document     Page 8 of 45
 Page: 8
 Debtors:           Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
 Case No.:          18-19054 (JNP)
 Caption:           Order (I) Approving Asset Purchase Agreement and Authorizing the Sale of Certain Assets of the
                    Debtors Outside of the Ordinary Course of Business; (II) Authorizing The Sale of Assets Free and
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                    Pursuant To Bankruptcy Rule 9019 As Embodied By The Term Sheet; (V) Providing For
                    Distribution Of Funds; and (VI) Granting Related Relief
 Acquired Assets and the Transferred Contracts to the Successful Bidder. Accordingly, the

 Successful Bidder is entitled to all the protections and immunities of section 363(m) of the

 Bankruptcy Code.

         P.         The Successful Bidder is not an "insider" or "affiliate" of any Debtor, as those

 terms are defined in the Bankruptcy Code. The Transfer of the Acquired Assets and the

 assumption of the Assumed Liabilities does not, and will not, subject the Successful Bidder to

 any liability whatsoever, with respect to the operation of the Debtors' business prior to the

 closing of the Sale Transaction or by reason of such transfer under the laws of the United States,

 any state, territory, or possession thereof, or the District of Columbia, based, in whole or in part,

 directly or indirectly, in any theory of law or equity including, without limitation, any laws

 affecting successor, transferee, or vicarious liability. The Successful Bidder is not a mere

 continuation, and is not holding itself out as a mere continuation of the Debtors or the Debtors'

 estates and there is no substantial continuity, or continuity of enterprise, between the Successful

 Bidder and the Debtors. The Sale does not amount to a consolidation, merger or de facto merger

 of the Successful Bidder and any of the Debtors, and the Successful Bidder does not constitute a

 successor to the Debtors or the Debtors' estates.

         Q.         The Debtors and the Successful Bidder have, to the extent necessary, satisfied the

 requirements of section 365 of the Bankruptcy Code, including sections 365(b)(1)(A), (B), and

 365(f), in connection with the Sale and the assumption and assignment of the Transferred

 Contracts. The Successful Bidder has demonstrated adequate assurance of future performance

 with respect to all Transferred Contracts pursuant to section 365(b)(1)(C) of the Bankruptcy
                                                          8

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                          Document     Page 9 of 45
 Page: 9
 Debtors:           Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
 Case No.:          18-19054 (JNP)
 Caption:           Order (I) Approving Asset Purchase Agreement and Authorizing the Sale of Certain Assets of the
                    Debtors Outside of the Ordinary Course of Business; (II) Authorizing The Sale of Assets Free and
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 Code. The assumption and assignment of the Transferred Contracts pursuant to the terms of this

 Order is integral to the Agreement and is in the best interests of the Debtors, their estates, their

 creditors, and other parties in interest, and represents the exercise of sound and prudent business

 judgment by the Debtors.

          R.        Notwithstanding any requirement for approval or consent by any person, the

 transfer of the Acquired Assets to the Successful Bidder and the assumption and assignment of

 the Transferred Contracts is a legal, valid, and effective transfer of the Acquired Assets and any

 Transferred Contracts. The Transferred Contracts are assignable notwithstanding any provisions

 contained therein to the contrary, or providing for the termination thereof upon assignment or the

 insolvency or commencement of the Debtors' chapter 11 cases. The Successful Bidder has

 provided for appropriate cures and/or other payments or actions required for the Debtors to

 assume and assign the Transferred Contracts to the Successful Bidder.

          S.        In the absence of a stay having been entered pending appeal prior to Closing, the

 Successful Bidder is acting in good faith, pursuant to section 363(m) of the Bankruptcy Code, in

 closing the transactions contemplated by the Agreement at any time on or after the entry of this

 Order.

          T.        Time is of the essence in consummating the Sale. In order to maximize the value

 of the Acquired Assets, it is essential that the Sale of the Acquired Assets occur within the time

 constraints set forth in the Agreement. The Debtors and the Successful Bidder intend to close the

 sale under the Agreement as soon as practicable. Accordingly, there is cause to determine

 inapplicable the stays contemplated by Bankruptcy Rules 6004 and 6006.
                                                          9

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                         Document      Page 10 of 45
 Page: 10
 Debtors:           Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
 Case No.:          18-19054 (JNP)
 Caption:           Order (I) Approving Asset Purchase Agreement and Authorizing the Sale of Certain Assets of the
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                    Pursuant To Bankruptcy Rule 9019 As Embodied By The Term Sheet; (V) Providing For
                    Distribution Of Funds; and (VI) Granting Related Relief
         IT IS HEREBY ORDERED THAT:

         1.         The Motions are GRANTED in all respects as set forth herein.

         2.         Except as otherwise set forth herein, all objections and responses to the Motions

 that have not been overruled, withdrawn, waived, settled, or resolved, and all reservations of

 rights included therein, are hereby overruled on the merits and denied with prejudice.

         3.         Except as otherwise set forth herein, the Term Sheet attached as Exhibit 1 is

 approved in its entirety.

         4.         Notwithstanding Exhibit A to the Term Sheet, the Debtors are only authorized to

 pay ordinary operating expenses, including, without limitation, payroll and payment of taxes, as

 they become due in ordinary course. Payment of all other claims or expenses, including without

 limitation, payments of section 503(b)(9) claims, priority claims or professional fee claims are

 subject to further Order of the Court.

         5.         This Order does not approve a structured dismissal and all parties' rights to seek

 or oppose a structured dismissal are reserved.

         6.         The Settling Parties' entry into a formal settlement pursuant to the Term Sheet is

 authorized and ratified pursuant to section 105 of the Bankruptcy Code and Bankruptcy Rule

 9019, and each Settling Party is hereby authorized, empowered, and directed to enter into and

 perform, and consummate the transactions, under the Term Sheet. All the provisions of the Term

 Sheet are hereby approved and are binding in all respects on all creditors and parties in interest in

 these cases, including without limitation, the Debtors, the Debtors' estates, the Committee, M&T

 Bank, the Buyer, and Jose Garces.
                                                          10

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                         Document      Page 11 of 45
 Page: 11
 Debtors:           Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
 Case No.:          18-19054 (JNP)
 Caption:           Order (I) Approving Asset Purchase Agreement and Authorizing the Sale of Certain Assets of the
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                    Distribution Of Funds; and (VI) Granting Related Relief
         7.         The Settling Parties are hereby authorized to take any and all actions and execute

 any and all documents and instruments that are reasonably necessary or appropriate to implement

 and effectuate the Term Sheet.

         8.         The Sale of the Acquired Assets free and clear of all Liens, the bid by the

 Successful Bidder, the Agreement, and the transactions contemplated thereby and all of the terms

 and conditions thereof, are the highest or otherwise best offer for the Acquired Assets and hereby

 are authorized and approved in all respects.

         9.         The Debtors and their officers, employees, and agents are hereby authorized to

 fully perform under, consummate, and implement the terms of the Agreement and the Term

 Sheet, together with any and all additional instruments and documents that may be reasonably

 necessary or desirable to implement and effectuate the terms of the Agreement, this Order, and

 the Sale of the Acquired Assets contemplated thereby, and to perform such other acts and

 execute, deliver, file and record the Agreement, this Order and such other documents, as are

 consistent with and necessary or appropriate to implement, effectuate, and consummate the

 Agreement, any related ancillary agreements, this Order, and the transactions contemplated

 thereby, without any further corporate action or orders of the Court.

         10.        The proceeds allocation and distribution scheme contemplated by the Term Sheet

 annexed as Exhibit 1, the payment into escrow of the GUC Fund, and the releases set forth

 therein are approved and authorized. The parties are directed to execute mutual general releases

 in accordance with the terms of the Term Sheet. In addition, for avoidance of doubt, this Order

 does not approve the disbursement of the GUC Fund unless as directed by further order of the
                                                          11

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                         Document      Page 12 of 45
 Page: 12
 Debtors:           Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
 Case No.:          18-19054 (JNP)
 Caption:           Order (I) Approving Asset Purchase Agreement and Authorizing the Sale of Certain Assets of the
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                    Clear of All Liens; (III) Authorizing the Assumption and Assignment or Rejection of Certain
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                    Pursuant To Bankruptcy Rule 9019 As Embodied By The Term Sheet; (V) Providing For
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 Court including, without limitation through a confirmed plan, dismissal or conversion to chapter

 7, and the right of the Acting United States Trustee to oppose how and to whom the GUC Fund

 is distributed is reserved.

         11.        Releases Among M&T Bank, the Buyer, the Committee and/or Jose Garces:

 Except for the obligations of the parties under the Agreement, the Term Sheet or this Order,

 effective as of the Closing, (a) M&T Bank, (b) the Buyer, (c) the Committee and (d) Jose Garces

 and each of them forever release, waive and discharge any and all liabilities, claims and causes

 of action, including without limitation, breach of fiduciary duty, avoidance actions, successor

 liability and fraudulent transfer claims, by among or against each other, and/or their respective

 current, and former officers, directors, stockholders, partners, managers, employees, agents,

 affiliates, successors, assigns, consultants, attorneys and their professionals retained in

 connection with this matter as applicable, whether pursued directly, derivatively, or otherwise,

 liquidated or unliquidated, fixed or contingent, matured or unmatured, known or unknown,

 foreseen or unforeseen, then existing or thereafter arising, in law, equity, or otherwise, that are

 based in whole or in part on any act, omission, transaction, event, or other occurrence taking

 place on or prior to the Closing.

         12.        Releases by the Debtors and the Debtors' Estates: Except for the obligations of the

 parties under the Agreement, the Term Sheet or this Order, effective as of the Closing, the

 Debtors and the Debtors' Estates forever release, waive and discharge any and all liabilities,

 claims and causes of action, including without limitation, breach of fiduciary duty, avoidance

 actions, successor liability and fraudulent transfer claims, against (a) M&T Bank, (b) the Buyer,
                                                          12

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                         Document      Page 13 of 45
 Page: 13
 Debtors:           Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
 Case No.:          18-19054 (JNP)
 Caption:           Order (I) Approving Asset Purchase Agreement and Authorizing the Sale of Certain Assets of the
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                    Clear of All Liens; (III) Authorizing the Assumption and Assignment or Rejection of Certain
                    Executory Contracts and Unexpired Leases; (IV) Approving A Compromise And Settlement
                    Pursuant To Bankruptcy Rule 9019 As Embodied By The Term Sheet; (V) Providing For
                    Distribution Of Funds; and (VI) Granting Related Relief
 (c) the Committee and (d) Jose Garces and each of them, and/or their respective current, and

 former officers, directors, stockholders, partners, managers, employees, agents, affiliates,

 successors, assigns, consultants, attorneys and their professionals retained in connection with this

 matter as applicable, (including the Debtors and the Debtors’ Estates, each a “Settling Party,”

 and collectively, the "Settling Parties"), whether pursued directly, derivatively, or otherwise,

 liquidated or unliquidated, fixed or contingent, matured or unmatured, known or unknown,

 foreseen or unforeseen, then existing or thereafter arising, in law, equity, or otherwise, that are

 based in whole or in part on any act, omission, transaction, event, or other occurrence taking

 place on or prior to the Closing.

         13.        Releases of the Debtors and the Debtors' Estates: Except for the obligations of

 the parties under the Agreement, the Term Sheet or this Order, effective as of the Closing, (a)

 M&T Bank, (b) the Buyer, (c) the Committee and/or (d) Jose Garces forever release, waive and

 discharge any and all liabilities, claims and causes of action, including without limitation, breach

 of fiduciary duty, avoidance actions, successor liability and fraudulent transfer claims, against

 the Debtors and/or the Debtors' estates, and/or their respective current, and former officers,

 directors, partners, managers, employees, agents, consultants, attorneys and their professionals

 retained in connection with this matter as applicable, whether pursued directly, derivatively, or

 otherwise, liquidated or unliquidated, fixed or contingent, matured or unmatured, known or

 unknown, foreseen or unforeseen, then existing or thereafter arising, in law, equity, or otherwise,

 that are based in whole or in part on any act, omission, transaction, event, or other occurrence

 taking place on or prior to the Closing; provided, however, that the foregoing release given by
                                                          13

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                         Document      Page 14 of 45
 Page: 14
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                    Pursuant To Bankruptcy Rule 9019 As Embodied By The Term Sheet; (V) Providing For
                    Distribution Of Funds; and (VI) Granting Related Relief
 Garces in not intended to and shall not be construed to release any indemnification claims of

 Garces to the extent such claims are covered by available insurance coverage.

         14.        Nothing herein shall be construed to (a) affect, impair, or prejudice any direct

 claims, causes of action, and/or defenses that any non-Settling Party (including, but not limited

 to, Jim Sorkin, Julius Silvert, Inc., Thomas Spinner, and Spinner Family Holdings, LLC) may

 have against any Settling Party or other non-Settling Party in any manner, whether now existing

 or hereafter arising (the “Third Party Claims”), all of which are expressly retained; or (b) have

 any preclusive effect on the Third Party Claims for any reason whatsoever including, but not

 limited to, under the doctrines of res judicata and collateral estoppel.

         15.        Nothing herein shall release claims against the Debtors' members other than Jose

 Garces who is being released as provided herein, or any claims against Julius Silvert, Inc.,

 including those asserted in adversary proceeding number 18-01241 pending before the United

 States Bankruptcy Court for the District of New Jersey.

         16.        Notwithstanding any other provision of this Order, the general release granted to

 Buyer by the Debtors' estates shall include, without limitation, avoidance actions and successor

 liability claims, but shall exclude claims of intentional common law fraud.

         17.        Except as otherwise provided in the Agreement or this Order, all of the Debtors'

 interests in the Acquired Assets to be acquired by the Successful Bidder under the Agreement

 shall be, as of the Closing Date under the Agreement, transferred to and vested in the Successful

 Bidder. Except as otherwise provided in the Agreement or this Order, upon the occurrence of the

 Closing Date, this Order shall be considered and constitute for any and all purposes a full and
                                                          14

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                         Document      Page 15 of 45
 Page: 15
 Debtors:           Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
 Case No.:          18-19054 (JNP)
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                    Pursuant To Bankruptcy Rule 9019 As Embodied By The Term Sheet; (V) Providing For
                    Distribution Of Funds; and (VI) Granting Related Relief
 complete general assignment, conveyance, and transfer of the Acquired Assets acquired by the

 Successful Bidder under the Agreement and/or a bill of sale or assignment transferring good and

 marketable, indefeasible title and interest in the Acquired Assets to the Successful Bidder.

         18.        Pursuant to sections 105 and 363(b) and (f) of the Bankruptcy Code, title to the

 Acquired Assets shall pass to the Successful Bidder on the Closing Date, free and clear of any

 and all Liens. For purposes of this Order, Liens shall mean and include mechanic's,

 materialmen's, other consensual and nonconsensual liens and statutory liens, security interests,

 interests, encumbrances and claims against the Debtors, including, but not limited to, any

 "claim" as defined in section 101(5) of the Bankruptcy Code, reclamation claims, mortgages,

 deeds of trust, pledges, any liabilities or obligations under any State or Federal law, any

 liabilities or obligations under COBRA, covenants, restrictions, hypothecations, charges,

 indentures, loan agreements, instruments, contracts, leases, licenses, options, rights of first

 refusal, rights of offset, recoupment, rights of recovery, judgments, orders and decrees of any

 court of foreign or domestic governmental entity, claims for reimbursement, contribution,

 indemnity or exoneration, assignments, debts, charges, suits, rights of recovery, interests,

 products liability, alter-ego, environmental, transferee liability, successor liability, tax and other

 liabilities, causes of action, and claims, including without limitation all claims arising in any way

 in connection with any agreements, acts or failures to act of the Debtors or any of their

 predecessors, affiliates, officers, or related entities, whether known or unknown, contingent or

 otherwise, and whether arising before or after commencement of these cases, (each a "Lien" and

 collectively, the "Liens"), to the fullest extent of the law or equity, in each case whether secured
                                                          15

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                         Document      Page 16 of 45
 Page: 16
 Debtors:           Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
 Case No.:          18-19054 (JNP)
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                    Pursuant To Bankruptcy Rule 9019 As Embodied By The Term Sheet; (V) Providing For
                    Distribution Of Funds; and (VI) Granting Related Relief
 or unsecured, choate or inchoate, filed or unfiled, scheduled or unscheduled, noticed or

 unnoticed, recorded or unrecorded, perfected or unperfected, allowed or disallowed, contingent

 or noncontingent, liquidated or unliquidated, matured or unmatured, material or non-material,

 disputed or undisputed, or know or unknown, whether arising prior to, on, or subsequent to the

 Petition Date, whether imposed by Agreement, understanding, law, equity or otherwise, with all

 such Liens hereby unconditionally released, discharged, and terminated as against either the

 Acquired Assets or the Successful Bidder and its members, agents, affiliates, subsidiaries,

 successors and assigns, effective as of the Closing; provided, however that any Assumed

 Liabilities as set forth in the Agreement shall be excluded from the definition of Liens. Subject

 to the Term Sheet, including the proceed allocation and distribution scheme set forth in the Term

 Sheet, any such Liens shall attach to the proceeds of the sale of the Acquired Assets with the

 same priority, validity, force, and effect (if any) as existed with respect to the Acquired Assets as

 of the Petition Date.

         19.        The provisions of this Order authorizing the Sale of the Acquired Assets free and

 clear of Liens shall be self-executing, notwithstanding any requirement for approval or consent

 by any person, and neither the Debtors nor the Successful Bidder shall be required to execute or

 file releases, termination statements, assignments, consents, or other instruments in order to

 effectuate, consummate, and implement the foregoing provisions of this Order; provided,

 however, that this paragraph shall not excuse such parties from performing any and all of their

 respective obligations under this Order or the Agreement, and the Debtors (at the Successful

 Bidder's sole expense) and the Successful Bidder, and each of their respective officers,
                                                          16

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                         Document      Page 17 of 45
 Page: 17
 Debtors:           Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
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                    Pursuant To Bankruptcy Rule 9019 As Embodied By The Term Sheet; (V) Providing For
                    Distribution Of Funds; and (VI) Granting Related Relief
 employees, and agents are hereby authorized and empowered to take all actions and execute and

 deliver any and all documents and instruments that either the Debtors or the Successful Bidder

 deem necessary or appropriate to implement and effectuate the terms of the Agreement and this

 Order. All persons and entities (a) holding Liens on the Acquired Assets, (b) that have filed

 financing statements, mortgages, or other documents or instruments evidencing claims against

 the Acquired Assets, or (c) otherwise asserting claims against the Acquired Assets shall, and

 hereby are directed to, execute and deliver to the Successful Bidder such releases or termination

 statements to effectuate the Sale of the Acquired Assets to the Successful Bidder free and clear

 of any and all Liens.

         20.        Upon consummation of the transactions set forth in the Agreement, if any person

 or entity that has filed financing statements, mechanic's liens, lis pendens, or other documents or

 agreements evidencing Liens against or in the Acquired Assets, has not delivered to the Debtors

 prior to closing under the Agreement, in proper form for filing and executed by the appropriate

 parties, termination statements, instruments of satisfactions, releases of all Liens that such person

 or entity has with respect to the Acquired Assets (unless otherwise assumed in the Agreement),

 or otherwise, then: (a) the Debtors are hereby authorized to execute and file such statements,

 instruments, releases, and other documents on behalf of the person or entity with respect to the

 Acquired Assets; and (b) the Successful Bidder is hereby authorized to file, register, or otherwise

 record a certified copy of this Order, which, once filed, registered, or otherwise recorded, shall

 constitute conclusive evidence of the release of all Liens in the Acquired Assets of any kind or

 nature. For the avoidance of doubt, to the extent necessary, upon consummation of the
                                                          17

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                         Document      Page 18 of 45
 Page: 18
 Debtors:           Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
 Case No.:          18-19054 (JNP)
 Caption:           Order (I) Approving Asset Purchase Agreement and Authorizing the Sale of Certain Assets of the
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                    Pursuant To Bankruptcy Rule 9019 As Embodied By The Term Sheet; (V) Providing For
                    Distribution Of Funds; and (VI) Granting Related Relief
 transactions set forth in the Agreement, the Successful Bidder is authorized to file termination

 statements, lien terminations, or other amendments in any required jurisdiction to remove and

 record, notice filings or financing statements recorded to attach, perfect, or otherwise notice any

 Lien or encumbrance that is extinguished or otherwise released pursuant to this Order under

 section 363 of the Bankruptcy Code.

         21.        Without further order of the Court, and subject to state law, the Successful Bidder

 shall be authorized, as of the Closing Date under the Agreement, to: (a) operate any Restaurant,

 property, or any other business transacted with respect to the Acquired Assets under all licenses,

 permits, registrations, and governmental authorizations and approvals, including but not limited

 to all of the Debtors' beer, wine, spirits, and liquor licenses, permits, registrations, or

 governmental authorizations or approvals that are Acquired Assets pursuant to the Agreement

 (collectively, the "Liquor licenses"); (b) purchase and sell alcohol under the Liquor Licenses; and

 (c) obtain and pay any and all fees associated with any lawful license or permit, until such time

 that the Successful Bidder is able to cause said licenses, permits, registrations, or governmental

 authorizations or approvals to be transferred to the Successful Bidder or until such time that the

 Successful Bidder is able to obtain replacement licenses and permits. The Successful Bidder is

 authorized and directed to take possession of and operate in the place of the Debtors under the

 Liquor Licenses, together with all permits associated therewith, and to take any action permitted

 thereunder. The Successful Bidder shall request that the relevant liquor licensing authorities

 transfer the Liquor Licenses, including any associated permits to the Successful Bidder.


                                                          18

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                         Document      Page 19 of 45
 Page: 19
 Debtors:           Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
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 Caption:           Order (I) Approving Asset Purchase Agreement and Authorizing the Sale of Certain Assets of the
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                    Pursuant To Bankruptcy Rule 9019 As Embodied By The Term Sheet; (V) Providing For
                    Distribution Of Funds; and (VI) Granting Related Relief
         22.        The Debtors shall, at the Successful Bidder's expense: (i) cooperate in the transfer

 of all licenses and permits, including but not limited to the Liquor Licenses, to the Successful

 Bidder; (ii) execute and deliver such documentation and certificates as are necessary or required

 to operate, transfer, or cancel the licenses and permits, including Liquor Licenses; and (iii) not

 engage in any acts that would interfere with the Successful Bidder's operation, transfer, or

 cancellation of licenses or permits, including Liquor Licenses.

         23.        Subject to the terms of the Agreement and the occurrence of the Closing Date

 thereunder, and pursuant to section 365(a), (b), (c), and (f) of the Bankruptcy Code, the Debtors

 are hereby authorized to assume the Transferred Contracts and assign such contracts to the

 Successful Bidder, with the Successful Bidder's consent to and acceptance of such assignment;

 provided, however, that there shall be no assumption of any such Transferred Contract absent

 simultaneous assignment thereof to the Successful Bidder. The Transferred Contracts identified

 as assumed in Exhibit 2 hereto are deemed assumed by the Debtors and assigned to the

 Successful Bidder effective as of the Closing Date. The contracts identified as rejected on

 Exhibit 2 attached hereto are deemed rejected as of the Closing Date. The contracts identified as

 "TBD" on Exhibit 2 attached hereto may be assumed or rejected by the Debtors effective as of

 the Closing Date via a Notice of Assumption or Rejection of Contracts to be filed by the Debtors

 with the consent of the Successful Bidder on or before the Closing Date.

         24.        In the event that the Sale does not close, none of the Transferred Contracts shall

 be assumed or rejected by virtue of this Order.


                                                          19

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                         Document      Page 20 of 45
 Page: 20
 Debtors:           Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
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                    Pursuant To Bankruptcy Rule 9019 As Embodied By The Term Sheet; (V) Providing For
                    Distribution Of Funds; and (VI) Granting Related Relief
         25.        The Cure Amounts are hereby fixed at the amounts set forth in Exhibit 2 hereto,

 and the non-Debtor counterparties to the Transferred Contracts are forever bound by such Cure

 Amounts and are hereby precluded from objecting to the Cure Amounts (if any) related to such

 Transferred Contracts and the assumption and assignment of any Transferred Contracts and

 enjoined from taking any action against the Successful Bidder or the Acquired Assets with

 respect to any claim for cure, or any other claim, under any Transferred Contract.

         26.        The Cure Costs relating to Transferred Contracts to which the Debtors and the

 applicable contracting counterparty have agreed or that have been fixed by operation of the

 Bidding Procedures Order as to the allowed Cure Costs shall be paid on or as promptly after the

 Closing Date as is practical. Cure Costs for Transferred Contracts for which disputes exist shall

 be paid the later of (a) on or as promptly after the Closing Date as is practical, or (b) fifteen (15)

 days after a final, non-appealable order is entered by the Court resolving such dispute.

         27.        Payment of the Cure Costs shall be deemed to discharge all of the Debtors'

 obligations to: (x) cure, or provide adequate assurance that the Debtors will promptly cure, any

 defaults under the Transferred Contracts; and (y) compensate, or provide adequate assurance that

 the Debtors will promptly compensate, any counterparty to the Transferred Contracts for any

 actual pecuniary loss resulting from any default under the Transferred Contracts.                             The

 counterparties to the Transferred Contracts shall be forever barred and estopped from asserting

 or claiming against the Debtors or the Successful Bidder that any amounts are due or other

 defaults exist under such Transferred Contracts as of the date of the assignment of such

 Transferred Contract.
                                                          20

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                         Document      Page 21 of 45
 Page: 21
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                    Pursuant To Bankruptcy Rule 9019 As Embodied By The Term Sheet; (V) Providing For
                    Distribution Of Funds; and (VI) Granting Related Relief
         28.        The Successful Bidder has satisfied any and all requirements under sections

 365(b)(1) and 365(f)(2) to provide adequate assurance or future performance under all

 Transferred Contracts. The Successful Bidder shall not be required to provide any further

 evidence of any adequate assurance to any counterparty of a Transferred Contract.

         29.        Pursuant to section 365(k) of the Bankruptcy Code, the Debtors shall have no

 liabilities for any claims arising or relating to or accruing post-Closing under any of the

 Transferred Contracts.

         30.        In accordance with section 365(b)(2) and (f) of the Bankruptcy Code, upon

 assignment of the Transferred Contracts to the Successful Bidder on the Closing Date, and

 subject only to payment of the appropriate Cure Cost, if any, (i) the Successful Bidder shall have

 all of the rights of the Debtors thereunder and each provision of such Transferred Contracts shall

 remain in full force and effect for the benefit of Successful Bidder notwithstanding any provision

 in any such Transferred Contract or in applicable law that prohibits, restricts, or limits in any

 way such assignment or transfer, and (ii) no Transferred Contract may be terminated, or the

 rights of any party modified in any respect, including without limitation, pursuant to any "change

 of control" clause, by any other party thereto as a result of the consummation of the transactions

 contemplated by the Agreement.

         31.        No sections or provisions of any Transferred Contract that purports to provide for

 additional payments, penalties, charges, or other financial accommodations in favor of the

 counterparty to the Transferred Contract shall have any force or effect with respect to the

 transactions contemplated by the Agreement and assignments authorized by this Order, and such
                                                          21

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                         Document      Page 22 of 45
 Page: 22
 Debtors:           Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
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                    Pursuant To Bankruptcy Rule 9019 As Embodied By The Term Sheet; (V) Providing For
                    Distribution Of Funds; and (VI) Granting Related Relief
 provisions constitute unenforceable antiassignment provisions under section 365(f) of the

 Bankruptcy Code and/or are otherwise unenforceable under section 365(e), and no assignment of

 any Transferred Contract pursuant to the terms of the Agreement in any respect constitutes a

 default under any Transferred Contract.

         32.        To the maximum extent permitted by section 525 of the Bankruptcy Code, no

 governmental unit may revoke or suspend any permit or license, including but not limited to

 Liquor Licenses, relating to the operation of the Acquired Assets sold, transferred, or conveyed

 to the Successful Bidder on account of the filing or pendency of the Debtors' chapter 11 cases or

 the consummation of the Sale as contemplated by the Agreement.

         33.        Unless otherwise stated in the Agreement or this Order, the counterparties to each

 Transferred Contract shall be deemed to have consented to such assignment under section

 365(c)(1)(B) of the Bankruptcy Code, and the Successful Bidder shall enjoy all of the rights and

 benefits under each such Transferred Contract as of the applicable date of assumption and

 assignment without the necessity of obtaining such counterparty's written consent to the

 assumption or assignment of such Transferred Contract. Any party having the right to consent to

 the assumption or assignment of any Transferred Contract that failed to object to such

 assumption or assignment is deemed to have consented to such assumption and assignment as

 required by section 365(c) of the Bankruptcy Code.

         34.        The failure of the Debtors or the Successful Bidder to enforce, at any time, one of

 more terms or conditions of any Transferred Contract shall not be a waiver of such terms and


                                                          22

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                         Document      Page 23 of 45
 Page: 23
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                    Pursuant To Bankruptcy Rule 9019 As Embodied By The Term Sheet; (V) Providing For
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 conditions or of the Debtors' or the Successful Bidder's rights to enforce every term and

 condition of the Transferred Contracts

         35.        With respect to the transactions consummated pursuant to the Agreement and this

 Order, this Order shall be the sole and sufficient evidence of the transfer of title to the Successful

 Bidder. This Order and the Agreement shall be effective as a determination that upon Closing of

 the Sale, all Liens existing as to the Debtors or the Acquired Assets prior to the Closing have

 been unconditionally released, discharged and terminated, and shall be binding upon and govern

 the acts of all persons and entities, including, without limitation, the Debtors and the Successful

 Bidder, their respective successors and permitted assigns, and including, without limitation, any

 trustee, all creditors, members and shareholders of the Debtors (whether known or unknown),

 governmental units (as defined in sections 101(27) and 101(41) of the Bankruptcy Code), state

 licensing authorities, including but not limited to beer, wine, spirits, and liquor licensing

 authorities, filing agents, filing officers, title agents, title companies, recorders of mortgages,

 recorders of deeds, administrative agencies, governmental departments, and federal, state, and

 local officials, recording agencies, secretaries of state, and all persons and entities who may be

 required by operation of law, the duties of their office or contract, to accept, file, register, or

 otherwise record or release any documents or instruments, or who may be required to report or

 insure any title in or to the Acquired Assets, and on all parties in interest in the Debtors' chapter

 11 cases. Each of such persons and entities is hereby directed to accept this Order as sole and

 sufficient evidence of such transfer of title and accept for filing any and all of the documents and

 instruments necessary and appropriate to consummate the transactions contemplated by the
                                                          23

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                         Document      Page 24 of 45
 Page: 24
 Debtors:           Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
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                    Pursuant To Bankruptcy Rule 9019 As Embodied By The Term Sheet; (V) Providing For
                    Distribution Of Funds; and (VI) Granting Related Relief
 Agreement, and shall rely upon this Order in consummating the transactions contemplated

 hereby.

           36.      The consideration provided by the Successful Bidder for the Acquired Assets is

 fair and reasonable and constitutes reasonably equivalent value and fair consideration under the

 laws of the United States, any state, territory, possession, or the District of Columbia.

           37.      The Successful Bidder is a good faith purchaser and is entitled to all of the

 benefits and protections afforded by section 363(m) of the Bankruptcy Code to a good faith

 purchaser, including, without limitation, with respect to the Sale and the transfer of the Acquired

 Assets, pursuant to section 365 of the Bankruptcy Code and this Order.

           38.      Pursuant to section 363(m) of the Bankruptcy Code, if any or all of the provisions

 of this Order are hereafter reversed, modified, or vacated by a subsequent order of the Court or

 any other court, such reversal, modification, or vacatur shall not affect the validity and

 enforceability of the Agreement, Sale and Closing any transfer under the Agreement or any

 obligation or right granted pursuant to the terms of this Order (unless this Order has been stayed

 pending appeal prior to Closing), and notwithstanding any reversal, modification, or vacatur,

 shall be governed in all respects by the original provisions of this Order and the Agreement, as

 applicable.

           39.      Neither the Successful Bidder nor the Debtors are required to comply with any

 "bulk sale" or similar laws relating to the transfer of the Acquired Assets.

           40.      Upon Closing, the Successful Bidder shall not be deemed to (a) be the successor

 to any of the Debtors, (b) be the mere continuation, alter ego or substantial continuation of the
                                                          24

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                         Document      Page 25 of 45
 Page: 25
 Debtors:           Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
 Case No.:          18-19054 (JNP)
 Caption:           Order (I) Approving Asset Purchase Agreement and Authorizing the Sale of Certain Assets of the
                    Debtors Outside of the Ordinary Course of Business; (II) Authorizing The Sale of Assets Free and
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                    Pursuant To Bankruptcy Rule 9019 As Embodied By The Term Sheet; (V) Providing For
                    Distribution Of Funds; and (VI) Granting Related Relief
 Debtors or their enterprise or (c) have, de facto or otherwise, merged with or into the Debtors.

 The Successful bidder is not a successor to the Debtors or their estates by reason of any theory of

 law or equity, and except for the Assumed Liabilities, the Successful Bidder shall not assume, or

 be deemed to assume, or in any way be responsible for any liability or obligation of any of the

 Debtors and/or their estates, with respect to the Acquired Assets or otherwise, including, but not

 limited to, any doctrine or theory of successor liability, transferee liability or similar theory or

 basis of liability. Except for the Assumed Liabilities, the Successful Bidder shall not have any

 liability, responsibility, or obligation for any claims, liabilities, or other obligations of the

 Debtors or their estates, including without limitation, any claims, liabilities, or other obligations

 relating to the Acquired Assets prior to Closing Date.                   Under no circumstances shall the

 Successful Bidder be deemed successors of or to the Debtors for any Liens against, in, or to the

 Debtors or the Acquired Assets. All references herein to the Successful Bidder shall include its

 affiliates, assignees, and their respective members.

         41.        Effective as of the Closing, the Debtors and the Debtors' estates, on the one hand,

 and the Successful Bidder and its agents, affiliates, members and assigns, on the other hand,

 hereby release each other from any and all claims except for such claims that arise from the

 Agreement and this Order after the Closing.

         42.        The Agreement and any related ancillary document, documents, or other

 instruments may be modified, amended, or supplemented by the parties thereto in accordance

 with the terms thereof without further order of the Court; provided, that any such modification,


                                                          25

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                         Document      Page 26 of 45
 Page: 26
 Debtors:           Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
 Case No.:          18-19054 (JNP)
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                    Pursuant To Bankruptcy Rule 9019 As Embodied By The Term Sheet; (V) Providing For
                    Distribution Of Funds; and (VI) Granting Related Relief
 amendment, or supplement is not material and substantially conforms to, and effectuates, the

 Agreement and any related ancillary documents.

         43.        The Sale of the Acquired Assets is not subject to avoidance pursuant to section

 363(n) of the Bankruptcy Code or other applicable law or statute.

         44.        To the extent there are any inconsistencies between the terms of this Order, the

 Agreement, the Term Sheet, and any prior order or pleading with respect to the Motion in the

 Debtors' chapter 11 cases, the terms of this Order shall govern.

         45.        In the event of the dismissal of one or more of these chapter 11 cases, the terms of

 this Order shall remain in effect notwithstanding section 349 of the Bankruptcy Code.

         46.        The Successful Bidder shall not be required to seek or obtain relief from the

 automatic stay under section 362 of the Bankruptcy Code to enforce any of its remedies under

 the Agreement or any other Sale-related document. The automatic stay imposed by section 362

 of the Bankruptcy Code is hereby modified to the extent necessary to implement the preceding

 sentence.

         47.        Notwithstanding the provisions of Rules 6004(h), 6006(d), and 7062 of the

 Bankruptcy Rules, the 14-day stay provided by or referred to in such rules is waived and shall

 not apply. This Order shall not be stayed for 14 days after entry and shall be effective and

 enforceable immediately upon entry, and its provisions shall be self-executing, and the Debtors

 and the Successful Bidder are authorized to close the Sale immediately upon entry of this Order.

 The Successful Bidder has acted in good faith, and, in the absence of any person or entity having

 obtained entry of a stay pending appeal prior to Closing, if the Debtors and the Successful Bidder
                                                          26

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                         Document      Page 27 of 45
 Page: 27
 Debtors:           Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
 Case No.:          18-19054 (JNP)
 Caption:           Order (I) Approving Asset Purchase Agreement and Authorizing the Sale of Certain Assets of the
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                    Pursuant To Bankruptcy Rule 9019 As Embodied By The Term Sheet; (V) Providing For
                    Distribution Of Funds; and (VI) Granting Related Relief
 close under the Agreement, then the Successful Bidder shall be entitled to the protections of

 section 363(m) of the Bankruptcy Code as to all aspects of the transactions under and pursuant to

 the Agreement if this Order or any authorization contained herein is reversed or modified on

 appeal.

           48.      All persons and entities with notice of this Bankruptcy Case or this Order shall be,

 and hereby are, stayed and enjoined from exercising self-help or taking any action in any court or

 before any tribunal or arbitration panel or other dispute resolution mechanism inconsistent with,

 or that has the effect of interfering with, the relief granted pursuant to this Order.

           49.      All persons and entities who are presently, or on the Closing Date may be, in

 possession of any of the Acquired Assets are hereby directed to surrender possession of such

 assets to the Successful bidder on the Closing Date. Except as expressly permitted by the

 Agreement or this Order, all persons and entities, including but not limited to, all debt holders,

 equity security holders, governmental, tax, and regulatory authorities, lenders, trade creditors,

 dealers, employees, litigation claimants, and other creditors, holding Liens or other interests of

 any kind or nature whatsoever, including, without limitation, rights or claims based on any taxes

 or successor or transferee liability, against or in a Debtor or the Transferred Assets (whether

 legal or equitable, secured or unsecured, matured or unmatured, contingent or noncontingent,

 senior or subordinated), arising under or out of, in connection with, or in any way relating to, the

 Debtors, the Transferred Assets or the operation of the Transferred Assets before the Closing

 Date, or the transactions contemplated by the Agreement, including, without limitation, the Sale

 and the assumption and assignment of the Transferred Contracts, are forever barred, estopped,
                                                          27

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                         Document      Page 28 of 45
 Page: 28
 Debtors:           Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
 Case No.:          18-19054 (JNP)
 Caption:           Order (I) Approving Asset Purchase Agreement and Authorizing the Sale of Certain Assets of the
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                    Executory Contracts and Unexpired Leases; (IV) Approving A Compromise And Settlement
                    Pursuant To Bankruptcy Rule 9019 As Embodied By The Term Sheet; (V) Providing For
                    Distribution Of Funds; and (VI) Granting Related Relief
 and permanently enjoined from asserting against the Successful Bidder, their successors and

 assigns, their respective property and the Transferred Assets, such persons' or entities' Liens,

 Encumbrances or other interests of any kind or nature whatsoever, including, without limitation,

 rights or claims based on any taxes or successor or transferee liability.

         50.        The failure to mention any provision of the Term Sheet or the Agreement in this

 Order shall not impair its efficacy, it being the intent and effect of this Order that the Term Sheet

 and the Agreement are approved in all respects and all relief contemplated by the Term Sheet

 and the Agreement is hereby granted.

         51.        In full resolution of the informal objection of New York Midtown Hotel LLC and

 41st Midtown LLC, the Restaurant Management Agreement (the "ORTZI RMA") between

 debtor GRGNY2 and New York Midtown Hotel LLC is hereby assumed and assigned to the

 Successful Bidder on the Closing Date subject to the modifications agreed to by the parties in a

 separate amendment agreement (the "ORTZI Amendment"). For the avoidance of doubt, the

 ORTZI Amendment modifies section 24.1(B) of the ORTZI RMA and section 36.4 of the

 ORTZI RMA. Moreover, any monies held by the Debtors in trust as a payroll prepayment from

 New York Midtown Hotel LLC and/or 41st Midtown LLC shall be remitted to the Successful

 Bidder upon the Closing Date.

         52.        In full resolution of the informal objection of American Express National Bank

 successor by merger to American Express Bank, FSB ("AmEx"), the Debtors and Amex have

 agreed to the following: The Debtors and Amex are parties to that certain Business Loan and


                                                          28

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                         Document      Page 29 of 45
 Page: 29
 Debtors:           Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
 Case No.:          18-19054 (JNP)
 Caption:           Order (I) Approving Asset Purchase Agreement and Authorizing the Sale of Certain Assets of the
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                    Pursuant To Bankruptcy Rule 9019 As Embodied By The Term Sheet; (V) Providing For
                    Distribution Of Funds; and (VI) Granting Related Relief
 Security Agreement, by and between AmEx and GRGNY1, LLC, Garces Catering 300, LLC,

 Latin Quarter Concepts, LLC and La Casa Culinary LLC, dated as of August 9, 2017 (the

 "AmEx Loan Agreement"). As of the Petition Date, the Debtors owed to AmEx $ 375,300.36

 under the AmEx Loan Agreement. On the Closing Date, the Successful Bidder shall wire to

 Debtors' counsel, Porzio, Bromberg & Newman, P.C., in immediately available funds of

 $375,300.36, which shall be immediately remitted to Amex in full satisfaction of the amounts

 due under the AmEx Loan Agreement. As of the Closing Date, Amex consents to the release of

 any funds held by the Debtors to the Debtors' estates representing the non-default Repayment

 Rate under the AmEx Loan Agreement that would have accrued between the Petition Date and

 the Closing Date.

         53.        The Objection to Cure and Reservation of Rights filed by Restaurant Associates,

 Inc. [Docket No. 310] and Objection of Kimmel Center, Inc. to Cure and Reservation of Rights

 [Docket No. 311] together with any objections to sale filed by Restaurant Associates, Inc. or

 Kimmel Center, Inc., are hereby resolved as follows: the Debtors shall assume and assign that

 certain Food Services Subcontract Agreement dated March 7, 2012 effective June 1, 2012 (the

 "Subcontract") to the Successful Bidder subject to the modifications agreed to by the parties in

 the Amendment Number Two to Concession Agreement. The parties agree that the Subcontract

 cure amount as of May 28, 2018 shall be set at $ 505,177.01 and paid directly to Restaurant

 Associates, Inc. Any additional amounts due and owing after May 28, 2018 shall be paid by the

 Successful Bidder. The Debtors' and Successful Bidders' consent to the Amendment Number


                                                          29

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                         Document      Page 30 of 45
 Page: 30
 Debtors:           Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
 Case No.:          18-19054 (JNP)
 Caption:           Order (I) Approving Asset Purchase Agreement and Authorizing the Sale of Certain Assets of the
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                    Pursuant To Bankruptcy Rule 9019 As Embodied By The Term Sheet; (V) Providing For
                    Distribution Of Funds; and (VI) Granting Related Relief
 Two and the assumption and assignment of the Subcontract to the Successful Bidder is effective

 as of the Closing.

         54.        The Reservation of Rights to the Debtors' Sale Motion filed by Chubb [Docket

 No. 325] is hereby fully and finally resolved as follows: the Successful Bidder agrees that the

 Master Services Agreement dated April 2, 2016, as amended by (i) an Amendment to Master

 Services Agreement effective as of January 1, 2018, and (ii) a Second Amendment to Master

 Services Agreement effective as of November 1, 2017 by and between Conference Facilities,

 Inc., d/b/a The ACE Conference Center ("Chubb") and Garces Catering 300 LLC (the "MSA")

 shall be assumed and assigned to the Successful Bidder on the Closing Date and the Successful

 Bidder shall reconcile the $150,000 payroll advance deposit upon termination of the MSA.

 Moreover, any monies held by the Debtors in trust as a payroll prepayment from Chubb, which

 amount equaled $91,481 as of the close of business on July 5, 2018 and is subject to adjustment

 on the day of the Closing, shall be remitted to the Successful Bidder upon the Closing Date.

         55.        The Limited/Conditional Objection of Luigi Adamo to the Proposed Assumption

 and Assignment of Leases Between Adamo and Latin Quarter Concepts LLC and Related Sale of

 Assets [Docket No. 357] is hereby fully and finally resolved as follows: Notwithstanding any

 other provision of this Order, of the final asset purchase agreement between the Debtors and

 Successful Bidder or of any other document executed in connection therewith, the assets of Latin

 Quarter Concepts LLC are conveyed subject to, and the Successful Bidder takes such assets

 subject to, any liens, claims and encumbrances on such assets contained in that certain June 16,

 2006 Rider to Lease Agreement between Luigi Adamo and Latin Quarter, that certain Consent of
                                                          30

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                         Document      Page 31 of 45
 Page: 31
 Debtors:           Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
 Case No.:          18-19054 (JNP)
 Caption:           Order (I) Approving Asset Purchase Agreement and Authorizing the Sale of Certain Assets of the
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                    Pursuant To Bankruptcy Rule 9019 As Embodied By The Term Sheet; (V) Providing For
                    Distribution Of Funds; and (VI) Granting Related Relief
 Garces and Latin Quarter Concepts, LLC regarding that certain February 7, 2008 Easement &

 Unity of Use Agreement between and among Adamo and Meyer Fitler II LLC, and that certain

 April 2008 Addendum to Lease Agreement between Adamo and Latin Quarter (which are also

 being assumed). For avoidance of doubt and without limitation, this includes, but is not limited

 to the option granted to Luigi Adamo or his assignee to purchase the Liquor License, which

 option is contained in paragraph 20 of the Rider to Lease Agreement identified above. No

 alteration or revision of this provision may be sought without thirty days' notice to Adamo and

 an opportunity to be heard.

         56.        The objections of 2401 Walnut, LP and 2401 Walnut Café, LLP (collectively

 "2401 Walnut") are resolved as follows: the lease with 2401 Walnut is rejected as of July 10,

 2018 and the Debtors will vacate the property by July 31, 2018. If the Debtors remain in the

 premises after July 31, 2018, this Sale Order does not prevent 2041 Walnut from seeking a claim

 against the Debtors, Buyer or any party in possession after July 31, 2018 for holdover rent or any

 other claim under the lease. Moreover, this Sale Order does not affect the Debtors or 2401

 Walnut's rights to assert claims and interest with respect to any fixtures, office furniture, or

 equipment at the test kitchen and the Debtors and 2401 Walnut reserve all of their rights. The

 restaurant management agreement with 2401 Walnut is rejected as of July 16, 2018. The

 Debtors will pay amounts owed for May stub rent due to 2401 Walnut within three (3) business

 days after Closing. 2401 Walnut's rights with respect to rejection claims are reserved.

         57.        The objection of TH Restaurant Management, LLC ("TH Restaurant") is resolved

 as follows: any provision in the Agreement that conditions Closing upon Buyer's receipt of an
                                                          31

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                         Document      Page 32 of 45
 Page: 32
 Debtors:           Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
 Case No.:          18-19054 (JNP)
 Caption:           Order (I) Approving Asset Purchase Agreement and Authorizing the Sale of Certain Assets of the
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 executed management services agreement with La Ciudad, LLC is hereby waived. Buyer and

 TH Restaurant reserve all rights with respect to La Ciudad LLC, including but not limited to any

 management services agreement which may be executed by La Ciudad LLC.

         58.        The objection of Ameristar Casino Kansas City, LLC ("Ameristar") is resolved as

 follows: the management agreement between Ameristar and GRGKC1, LLC is rejected as of

 July 10, 2018.

         59.        Nothing contained in any plan of reorganization or liquidation confirmed in these

 cases or any order of this Court confirming such plans or in any other order in these cases,

 including any order entered after any conversion of these cases to a case under Chapter 7 of the

 Bankruptcy Code or dismissing these cases, shall alter, conflict with, or derogate, the terms of

 the Agreement or this Order. The provisions of this Order and the Agreement and any actions

 taken pursuant hereto or thereto shall survive entry of a dismissal order or any order which may

 be entered confirming or consummating any plan of reorganization of the Debtors, or which may

 be entered converting these cases from Chapter 11 to Chapter 7 of the Bankruptcy Code, and the

 terms and provisions of the Agreement as well as the rights and interests granted pursuant to this

 Order and the Agreement shall continue in these Cases or any superseding case and shall be

 specifically performable and enforceable against and binding upon the Debtors and their estates

 and their successors and permitted assigns, including any trustee, responsible officer, or other

 fiduciary hereafter appointed as a legal representative of the Debtors under Chapter 7 or Chapter

 11 of the Bankruptcy Code.


                                                          32

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                    Desc Main
                                         Document      Page 33 of 45
 Page: 33
 Debtors:           Garces Restaurant Group, Inc., d/b/a Garces Group, et al.
 Case No.:          18-19054 (JNP)
 Caption:           Order (I) Approving Asset Purchase Agreement and Authorizing the Sale of Certain Assets of the
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                    Distribution Of Funds; and (VI) Granting Related Relief
         60.        The Court shall retain exclusive jurisdiction to enforce the terms and provisions of

 this Order, the Agreement, the Term Sheet and the Bidding Procedures Order in all respects and

 to resolve any disputes concerning this Order, the Agreement, the Term Sheet and the Bidding

 Procedures Order or the rights and duties of the parties hereunder or thereunder, as applicable, or

 any issues relating to this Order, the Agreement, the Term Sheet and the Bidding Procedures

 Order, including, but not limited to, the interpretation of the terms, conditions, and provisions

 hereof and thereof, the status, nature, and extent of the Acquired Assets and any Transferred

 Contracts, and all issues and disputes existing in connection with the relief authorized herein,

 inclusive of those concerning the transfer of the Acquired Assets free and clear of all Liens.

         61.        This Order constitutes a final and appealable order within the meaning of 28

 U.S.C. § 158(a).




                                                          33

 3990794
 PHIL1 7115442v.2
Case 18-19054-JNP   Doc 403     Filed 07/11/18 Entered 07/11/18 17:53:58   Desc Main
                              Document      Page 34 of 45
  


  
  
  
  
  
  
  
  
  
  
  


                        EXHIBIT 1




  
Case 18-19054-JNP      Doc 403       Filed 07/11/18 Entered 07/11/18 17:53:58                       Desc Main
                                   Document      Page 35 of 45
                                                                                        SUBJECT TO FRE 408
                                                                                            CONFIDENTIAL

                 Term Sheet for Garces Restaurant Group, Inc., et al. (June 26, 2018)
                                        Case No. 18-19054

 THIS IS A TERM SHEET (THE "TERM SHEET") FOR A SETTLEMENT BY AND AMONG THE DEBTORS
 AND DEBTORS-IN-POSSESSION (COLLECTIVELY "THE DEBTORS"), M&T BANK A/K/A
 MANUFACTURERS AND TRADERS TRUST COMPANY ("M&T BANK"), 3BM1, LLC (THE "BUYER"),
 JOSE GARCES, AND THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS (THE "COMMITTEE")

    Term                                                  Summary
Primary         The definition of "Purchase Price" pursuant to the Amended and Restated Asset Purchase
Economic         Agreement by and among the Debtors and Buyer, as modified by Court Order [ECF # 236] (the
Terms            "APA"), shall be amended to reflect that the cash portion has been increased to $3.5 million (the
                 "Cash Sale Proceeds" with the increase being referred to herein as the "Purchase Price
                 Increase").

                Buyer shall have until the Closing Date (hereinafter defined) to advise the Debtors as to which
                 executory contracts and unexpired leases it wishes the Debtors to assume and assign to Buyer
                 (or its affiliated designee(s)). It is anticipated that the closing on the APA will be on or about
                 July 10, 2018 (the "Closing Date").

                All other terms of the APA remain the same unless and to the extent otherwise stated herein.

                M&T Bank shall receive $1.5 million from the Cash Sale Proceeds (the "M&T Bank Sale
                 Proceeds Portion"). The M&T Bank Sale Proceeds Portion, in its entirety, shall be paid directly
                 to M&T Bank by the Buyer on behalf of the Debtors via wire transfer on the Closing Date.

                Jose Garces shall contribute $500,000 to fund the global settlement, which shall be paid directly
                 to M&T Bank (the "Garces Contribution"). While paid on account of guaranty liability and to
                 facilitate the global settlement addressed in this Term Sheet, the Garces Contribution, in its
                 entirety, shall be paid directly to M&T Bank via wire transfer on the Closing Date.

                M&T Bank will carve-out $2.0 million from the Cash Sale Proceeds for administrative and
                 priority claims (the "M&T Sale Proceeds Carveout"), which is anticipated to be allocated as
                 follows:

                    $338,000 in priority claims; and

                    $1.662 million in administrative claims (including, but not limited to, 503(b)(9) claims,
                     PACA claims, stub rent, US Trustee fees, and estate professional claims).

Escrow          On the Closing Date, the M&T Sale Proceeds Carveout shall be escrowed with Porzio,
Funding          Bromberg & Newman, P.C. ("Porzio"). The M&T Sale Proceeds Carveout, in its entirety, shall
                 be transferred directly by Buyer to Porzio via wire transfer on the Closing Date.

                On the Closing Date, the GUC Fund in the amount of $250,000 provided for in the APA shall be
                 escrowed by the Buyer with Porzio provided the Buyer, the Committee and Porzio have entered
                 into an escrow agreement satisfactory to Buyer (the "GUC Escrow"). The Committee's
                 professionals shall act as disbursing agent with respect to same.

Budget          The Debtors are revising the budget in order to continue operations through an anticipated
                 closing on or about July 10, 2018. A copy of the budget is attached as Exhibit A.




                                                     1
 3986218
Case 18-19054-JNP             Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                        Desc Main
                                         Document      Page 36 of 45


     Term                                                        Summary
Releases              The Debtors' Estates shall release all claims against M&T Bank in exchange for M&T's funding
                       of the M&T Sale Proceeds Carveout.

                      The Debtors' Estates shall release all claims against Jose Garces in exchange for the Garces
                       Contribution.

                      The Debtors' Estates shall release all claims against Buyer in consideration of the Purchase Price
                       Increase, the GUC Escrow, and other good and valuable considerations.

                      There shall be general mutual releases of any and all claims by and among the Debtors, the
                       Debtors' Estates, M&T Bank, the Buyer, the Committee and Jose Garces and their respective
                       current, future and former officers, directors, stockholders, partners, members, managers,
                       employees, agents, affiliates, successors, consultants, attorneys and their professionals retained
                       in connection with this matter as applicable, including, without limitation, releases as between
                       M&T Bank and Jose Garces of claims related to Jose Garces' guaranty of the M&T Bank debt.

                      Upon receipt by M&T Bank of the M&T Bank Sale Proceeds Portion in its entirety and the
                       Garces Contribution in its entirety. M&T Bank shall release and terminate all security interests,
                       liens and mortgages upon any and all assets and properties of (1) the Debtors, (2) any and all
                       non-Debtor affiliates obligated under the M&T Bank debt and (3) Jose Garces.

                      In consideration for the M&T Sale Proceeds Carveout, the Debtors' Estates and all Debtors'
                       Estates' and Committee's professionals release M&T Bank from any funding obligations after
                       the date of execution of this term sheet of the Carve-Out referenced in the cash collateral order
                       and budget, which is attached to the cash collateral order [ECF 307].

Procedure /           The Debtors shall request the Court to approve the terms of this settlement pursuant to a 9019
Support of Sale        motion. The Debtors shall further request that the Bankruptcy Court schedule the approval
and Global             hearing on or before July 9, 2018, at which time approval of sale pursuant to the APA, as
Settlement             amended herein, shall be heard.

                      The settlement approval order shall be in form and substance acceptable to the Debtors, Buyer,
                       M&T Bank, the Committee and Jose Garces, providing, among other things, that no party will
                       be allowed to pursue any estate claims, including breach of fiduciary duty, avoidance actions,
                       and fraudulent transfer claims released by the global settlement described herein. The general
                       release granted to Buyer by the Debtors' Estates shall include, without limitation, avoidance
                       actions and successor liability claims, but shall exclude claims of intentional common law fraud.

                      M&T Bank and the Committee will consent to and support approval of the sale and the global
                       settlement described herein.

Administrative        Unless otherwise ordered, or the administrative claimant agrees to a different treatment,
Claims                 administrative creditors shall be paid in full. The estate professionals have agreed to discount
                       their fees through June 27, 2018 and shall be paid in accordance with those discounted
                       amounts.1



 1
  To the extent the parties consent to a certain administrative claim amount, the parties shall not object to such claim
 amount sought by such party. Otherwise, all rights are reserved to object to claims asserted in these cases, including
 administrative claims. The estate professionals reserve all rights with respect to their fees and expenses incurred
 after June 27, 2018, and M&T Bank reserves its rights with respect to same.
                                                            2


 3986218
Case 18-19054-JNP          Doc 403      Filed 07/11/18 Entered 07/11/18 17:53:58                         Desc Main
                                      Document      Page 37 of 45


    Term                                                      Summary
Binding            All parties shall be obligated to proceed in good faith as expeditiously as possible to negotiate,
Nature of           finalize, execute and deliver all such documentation necessary to carry out this settlement.
Term Sheet          Notwithstanding the foregoing, this Term Sheet is a binding agreement among the parties upon
                    Bankruptcy Court approval.

                   Notwithstanding the foregoing, if the Bankruptcy Court declines to approve the sale pursuant to
                    the APA and the global settlement described herein despite the reasonable efforts of the parties
                    hereto, then this Term Sheet will be null and void and of no force or effect and the parties'
                    respective rights with respect to the matters addressed in this term sheet shall be fully preserved.

                   The parties agree that the Bankruptcy Court for the District of New Jersey shall retain
                    jurisdiction over the parties to enforce the terms of this Term Sheet and any documentation
                    relating thereto, and to enter such other relief as the Court deems appropriate.

                   Upon confirmation of agreement by each of the Debtors, the Committee, M&T Bank, Jose
                    Garces and the Buyer, this Term Sheet shall be binding in all respects. Confirmation of
                    agreement shall be transmitted by electronic mail by the counsel of record for each party to be
                    submitted to counsel for the Debtors with simultaneous copy to counsel of record for each of the
                    other parties.

                   The parties agree that this Term Sheet shall be filed publicly by the Debtors within one business
                    day of the Term Sheet being agreed to by each the Debtors, the Committee, M&T Bank, Jose
                    Garces and the Buyer.

Support of         The Debtors, the Committee, and M&T Bank will support and act to implement a structured
Chapter 11          dismissal that preserves all of the terms of this settlement and facilitates distributions to M&T
Cases               Bank and creditors of these estates.

M&T Bank           M&T Bank shall participate as a creditor in any distributions realized from liquidation of the
Participation       Debtors' assets that have not been included and/or sold under the APA.
as a Creditor
                   M&T Bank shall not participate as a creditor and thus shall not receive any distribution and/or
                    dividend in or from the GUC Fund.

                   M&T Bank reserves and preserves all of its rights to any and all distributions and dividends
                    arising from the sale and/or liquidation and/or disposition of Debtors' assets not otherwise sold
                    or transferred under the APA, including, but not limited to, recoveries and/or judgments from
                    potential causes of actions and/or claims.

                   To the extent the Debtors' Estates have additional or excess cash or receive any rebates, refunds
                    etc., M&T Bank shall participate as a creditor in the distribution of same.

                   M&T Bank will not be contributing any additional funds to the Debtors' Estates and/or towards
                    the payment of administrative claims, including, but not limited to, Debtors' Estates' and
                    Committee's professionals' fees other than the funds representing the M&T Bank Sale Proceeds
                    Carve Out.




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 3986218
Case 18-19054-JNP   Doc 403     Filed 07/11/18 Entered 07/11/18 17:53:58   Desc Main
                              Document      Page 38 of 45




                                 EXHIBIT A
                                     [Budget]




                                          4


 3986218
Garce Restaurant Group, Inc.
Case No. 18-109054
Week No.                                                           10          11          12               13
Week Ending                                                     7/2/2018    7/9/2018    7/16/2018        Post 7/16
Cash Receipts:
Gross Receipts - Restaurants                                    375,576     319,971
Gross Receipts - Catering                                       176,571      92,125
Less: Escrowed Catering Deposits                                    -           -                -             -
Release of Escrowed Catering Deposits                               -           -                -             -
Receipts - Management                                            12,811      53,583                            -
Gift Card Sales                                                     -           -                -             -
Other/AR                                                        152,000         -                              -
Sale Proceeds/Professional Escrow Release                                               2,000,000          275,000
Total Cash Receipts                                             716,958     465,679     2,000,000          275,000
                                                                                                                                            Case 18-19054-JNP




Cash Disbursements:                                               grg        catering      grg            catering
Payroll, Taxes and Benefits (PTEB)                              375,000     233,000       380,000          111,500
Health & Dental Insurance                                           -           -             -             25,800
Rent                                                            125,387         -         (88,984)          20,000
                                                                                                                                            Doc 403




Fees Paid to Venue - Kimmel & Volver                             87,041         -                           65,000
Insurance                                                        42,762       2,766                         21,026
Utilities                                                        11,561       8,464           -                -
Property Taxes                                                                5,000        (3,548)
Food Purchases                                                  133,794      46,492
                                                                                                                       Document




Beverage Purchases                                               14,343      15,000
Rental Cost                                                      17,000       5,000
Direct Operating                                                 34,682      25,391
Sales Tax/Liquor Tax                                                -           -             -            152,543
April Sales/Liquor Tax                                              -           -             -             93,000
Other-credit card and bank fees                                  35,000         -             -                -
Other-Penalties and fines                                           -           -             -             60,000
Total Operating Disbursements                                   876,569     341,112       287,467          548,869
                                                                                                                                     Page 39 of 45




Net Cash Flow Before Debt Service, Restruct Pro Fees & CapEx    (159,610)   124,567     1,712,533         (273,869)

BIRT 2017 Past due Installments                                         -        -               -          51,000
Court Ordered Escrow (PACA-credited against estimated claims)                 18,333                           -
Amex Loan Settlement Repayment ($412k left as of 04.18)                          -               -             -
M&T Interest                                                      37,039         -               -
BIRT2018                                                             -                                      30,000
UST Fees                                                             -              -            -         105,000
PACA Claims                                                          -              -            -          96,000
                                                                                                                         Filed 07/11/18 Entered 07/11/18 17:53:58




503(b)(9) Claims                                                                    -            -         200,000
Restructuring Professional Fees & Costs                                                          -       1,280,000
Total Non-Operating Disbursements                                 37,039      18,333                 0   1,762,000

Net Cash Flow                                                   (196,649)   106,234     1,712,533        (2,035,869)
                                                                                                                                            Desc Main




DIP Funds
Beginning Cash Balance                                           417,100    220,451       326,685         2,039,217
Net Cash Flow                                                   (196,649)   106,234     1,712,533        (2,035,869)
Ending Cash Balance                                              220,451    326,685     2,039,217             3,348
Case 18-19054-JNP   Doc 403     Filed 07/11/18 Entered 07/11/18 17:53:58   Desc Main
                              Document      Page 40 of 45
  


  
  
  
  
  
  
  
  
  
  
  


                        EXHIBIT 2




  
      DEBTOR                   CONTRACT              AMOUNT                 ADDRESS                  DESCRIPTION OF CONTRACT             ASSUME / REJECT         ASSIGNEE
                           COUNTERPARTY                                                                         OR LEASE
GRGAC1, LLC              Revel Entertainment              $0.00 500 Boardwalk     Atlantic City NJ   Lease Agreement                    Assume             3BM1 Restaurant
                         Group, LLC                             08401                                                                                      Management, LLC
GRGAC2, LLC              Revel Entertainment              $0.00 500 Boardwalk     Atlantic City NJ   Lease Agreement                    Assume             3BM1 Restaurant
                         Group, LLC                             08401                                                                                      Management, LLC
GRGAC3, LLC              Revel Entertainment              $0.00 500 Boardwalk     Atlantic City NJ   Lease Agreement                    Assume             3BM1 Restaurant
                         Group, LLC                             08401                                                                                      Management, LLC
GRGAC1, LLC              ACOWRE, LLC and AC               $0.00 500 Boardwalk     Atlantic City NJ   Settlement Agreement and Release   Assume             3BM1 Restaurant
                                                                                                                                                                                                     Case 18-19054-JNP




GRGAC2, LLC,             Ocean Walk, LLC                        08401                                of Possessory Interests                               Management, LLC
GRGAC3, LLC
Garces Catering 300,     121 Walnut Street                $0.00 Attn: Stanley Taraila c/o            Lease Agreement                    Assume             3BM1 Olde Bar, LLC
LLC                      Restaurant Associates, LP              Renaissance Properties 1926 Arch
                                                                Stree
                                                                                                                                                                                                     Doc 403




Garces Restaurant        2401 Walnut, LP             $21,876.06 c/o Bedrock Group, LLC 2401          Lease Agreement                    Reject             N/A
Group, Inc.                                                     Walnut St, Suite 100, Philadelphia
La Casa Culinary LLC     TJJ Real Co. , LLC               $0.00 217‐219 Chestnut Street Unit 100     Property Lease                     Assume             3BM1 Amada, LLC
                                                                Philadelphia PA 19106
                                                                                                                                                                                Document




Latin Quarter Concepts   Meyer Fitler II, LP              $0.00 1824 Spruce Street Suite 100         Tinto Lease Agreement              Assume             3BM1 LQ, LLC
LLC                                                             Philadelphia PA 19103
Latin Quarter Concepts   Meyer Fitler II, LP              $0.00 1824 Spruce Street Suite 100         Village Whiskey Lease Agreement    Assume             3BM1 LQ, LLC
LLC                                                             Philadelphia PA 19103
Latin Quarter Concepts   Luigi Adamo                 $17,707.17 130 Maureen Rd       Holland PA      Property Lease                     Assume             3BM1 LQ, LLC
LLC                                                             18966
UrbanFarm, LLC           Brandywine CIRA, LP              $0.00 555 E Lancaster Ave. Suite 100       Property Lease                     Assume             3BM1 JGD, LLC
                                                                                                                                                                                              Page 41 of 45




                                                                Radnor PA 19087
GRGDC2, LLC              1250 4th St (Edens), LLC         $0.00 c/o Edens Limited Partnership 1221   Lease Agreement                    Reject             N/A
                                                                Main Street Suite 1000 Col
Numerous Entities        EcoLab                       $3,366.08 PO Box 32027 New York NY             Dishmachine Lease Agreement        Assume             3BM1 Catering, LLC
                                                                                                     GR300, LLC
                                                                                                     Dishmachine Lease Agreement        Assume             3BM1 LQ, LLC
                                                                                                     Latin Quarter Concepts, LLC
                                                                                                                                                                                  Filed 07/11/18 Entered 07/11/18 17:53:58




                                                                                                     Dishmachine Lease Agreement        Assume             3BM1 Amada, LLC
                                                                                                     La Casa Culinary, LLC
                                                                                                     Dishmachine Lease Agreement        Assume             3BM1 JGD, LLC
                                                                                                     UrbanFarm, LLC
                                                                                                                                                                                                     Desc Main




                                                                                              1

3996238
                                                                                                  Product and Services Supply        Assume   3BM1 Management
                                                                                                  Agreement                                   Services, LLC
                                                                                                  Garces Restaurant Group, Inc.
Garces      Restaurant M&M Mechanical                   $0.00   1280 Dexter Ave       Deptford NJ Multiple Equipment Rental Leases – Assume   3BM1 Management
Group, Inc.                                                     08096                             GTC, Amada, Olde Bar, Tinto                 Services, LLC
                                                                                                  Multiple Equipment Rental Leases – Reject   N/A
                                                                                                  24
Garces Catering 300   Penske Truck Leasing Co.,     $8,122.84   PO Box 827380      Philadelphia   Vehicle Lease                      Reject   N/A
                      LP                                        PA 19182‐738
                                                                                                                                                                                        Case 18-19054-JNP




Garces Restaurant     Penske Truck Leasing Co.,    $15,816.29   PO Box 827380      Philadelphia   Rental Agreement                   Reject   N/A
Group, Inc.           LP                                        PA 19182‐738
GRG300 LLC            Vero Water, Inc.              $1,215.00   1680 Michigan Ave, PH7      Miami Equipment Lease Agreement          Assume   3BM1 Catering, LLC
                                                                Beach FL 33139
Garces Restaurant     Wells Fargo                       $0.00   P.O. BOX 70239                    Restaurant printers lease          Assume   3BM1 Management
                                                                                                                                                                                        Doc 403




Group, Inc.                                                     PHILADELPHIA PA 19176‐0239                                                    Services, LLC
Garces Restaurant     Xerox                         $2,088.16   PO Box 660501      Dallas TX      Menu printer Lease                 Assume   3BM1 Management
Group, Inc.                                                     75266‐0501                                                                    Services, LLC
Garces Restaurant     2401 Walnut Café, LLC             $0.00   c/o Bedrock Group, LLC 2401       Shared Kitchen Agreement           Reject   N/A
                                                                                                                                                                   Document




Group, Inc.                                                     Walnut St, Suite 100 Philadelphia
Garces Restaurant     Baldor Specialty Foods,     $115,337.94   155 Food Center Drive, Bronx NY Food Purchasing Agreement            Reject   N/A
Group, Inc.           Inc.                                      10474
Garces Restaurant     Arway Apron & Uniform        $44,708.36   PO Box 23035, Philadelphia PA     Vendor Contract                    Reject   N/A
Group, Inc.           Rentals, Inc.                             19124                             Rental Agreement dated May 1,      Reject   N/A
                                                                                                  2017
Numerous Entities     Atmosphere Music, Inc.         $960.00    PO Box 54487, Philadelphia PA     Atmosphere Music Service           Assume   3BM1 Olde Bar, LLC
                                                                                                                                                                                 Page 42 of 45




                                                                19148                             Agreement
                                                                                                  GRGBookies, LLC
                                                                                                  Atmosphere Music Service           Assume   3BM1 LQ, LLC
                                                                                                  Agreement
                                                                                                  Latin Quarter Concepts, LLC
                                                                                                  Atmosphere Music Service           Assume   3BM1 Catering, LLC
                                                                                                  Agreement
                                                                                                                                                                     Filed 07/11/18 Entered 07/11/18 17:53:58




                                                                                                  GR300, LLC
                                                                                                  Atmosphere Music Service           Assume   3BM1 Amada, LLC
                                                                                                  Agreement
                                                                                                  La Casa Culinary, LLC
                                                                                                                                                                                        Desc Main




                                                                                           2

3996238
Garces Restaurant      Garda CL Atlantic          $9,601.46 3209 Momentum Place    Chicago     Vendor Contract                       Reject   N/A
Group, Inc.                                                 IL 60689‐5332
Numerous Entities      Kitchen Exhaust            $7,527.39 606 Ryan Ave Ste. Q1, Westville    Kitchen Exhaust System                Assume   3BM1 LQ, LLC
                       Professionals, LLC d/b/a             NJ 08093                           Maintenance
                       HOODZ of Cherry Hill,                                                   Latin Quarter Concepts, LLC –
                       LB and Egg Harbor                                                       Village Whiskey
                                                                                               Kitchen Exhaust System                Assume   3BM1 LQ, LLC
                                                                                               Maintenance
                                                                                               Latin Quarter Concepts, LLC - Tinto
                                                                                                                                                                                        Case 18-19054-JNP




                                                                                               Kitchen Exhaust System                Assume   3BM1 JGD, LLC
                                                                                               Maintenance
                                                                                               UrbanFarm LLC
                                                                                               Kitchen Exhaust System                Assume   3BM1 Restaurant
                                                                                               Maintenance                                    Management, LLC
                                                                                                                                                                                        Doc 403




                                                                                               GRGMoorestown, LLC
                                                                                               Kitchen Exhaust System                Assume   3BM1 Olde Bar, LLC
                                                                                               Maintenance
                                                                                               GRGBookies, LLC
                                                                                                                                                                   Document




                                                                                               Kitchen Exhaust System                Assume   3BM1 Amada, LLC
                                                                                               Maintenance
                                                                                               La Casa Culinary, LLC
“Restaurants in        Caviar                        $0.00 1455 Market ST Suite 600, San       Delivery Service Agreement ‐ Tinto,   Assume   3BM1 Management
association with the                                       Francisco CA 94103                  Amada, Village Whiskey,                        Services, LLC
Garces Group”                                                                                  UrbanFarm, LLC, Distrito, Garces
                                                                                               Trading Co., Rosa Blanca
                                                                                                                                                                                 Page 43 of 45




Numerous               Coca‐Cola                  $5,744.35 25000 Windy Ridge Pkway SE,        Vendor Contract                       Assume   3BM1 Management
                                                            Atlanta GA 30339                                                                  Services, LLC
Garces Restaurant      Roadrunner Recycling,      $9,387.57 PO Box 6011, Hermitage PA          Materials Management Services         Assume   3BM1 Management
Group, Inc.            Inc.                                 16148                              Agreement ‐ Olde Bar, Amada,                   Services, LLC
                                                                                               Tinto, Village Whiskey
Garces Restaurant      Ctuit                      $1,031.00 773 San Marin Dr., Novato CA       Business Intelligence Reporting       Assume   3BM1 Management
Group, Inc.                                                 94945                                                                             Services, LLC
Garces Restaurant      OpenTable                  $8,922.57 29109 Network Place, Chicago IL    Reservation management system         Assume   3BM1 Management
                                                                                                                                                                     Filed 07/11/18 Entered 07/11/18 17:53:58




Group, Inc.                                                 60673‐1291                                                                        Services, LLC
Garces Group [sic]     Tip Network                $6,900.00 739 Fourth Avenue Suite 201 San    Tip reporting software                Assume   3BM1 Management
                                                            Diego CA 92101                                                                    Services, LLC
GRGKC1, LLC            Ameristar Casino Kansas        $0.00 3980 Howard Hughes Parkway         Management Agreement                  Reject   N/A
                                                                                                                                                                                        Desc Main




                                                                                           3

3996238
                       City, LLC                                  Las Vegas NV 89169

GRGWildwood LLC        The Morey Organization              $0.00 3501 Boardwalk, Wildwood NJ          Consulting Services Agreement      Assume   3BM1 Restaurant
                                                                 08260                                                                            Management, LLC
GRGAC4 LLC             Tropicana Atlantic City             $0.00 Broghton and the Boardwalk           Management Agreement               Assume   3BM1 Restaurant
                       Corp. a/b/a Tropicana                     Atlantic City NJ 08401                                                           Management, LLC
                       Casino & Resort
GRG 2401 LLC           2401 Walnut Café, LLC               $0.00 c/o Bedrock Group, LLC 2401          Amended and Restated Restaurant    Reject   N/A
                                                                 Walnut St, Suite 100, Philadelphia   Management Agreement
                                                                                                                                                                                            Case 18-19054-JNP




GRG NY2 LLC            New York Midtown Hotel              $0.00 433 California Street 7th Floor      Restaurant Management Agreement    Assume   3BM1 Restaurant
                       LLC                                       San Francisco CA 94104                                                           Management, LLC
Numerous               Restaurant Associates, Inc.   $505,177.01 330 Fifth Avenue, New York NY        Food Services Subcontract          Assume   3BM1 Catering, LLC
                                                                 10001                                Agreement
Garces Catering 300,   Kimmel Center, Inc.           $201,441.03 260 S. Broad Street Suite 901        Concession Agreement               N/A      N/A
                                                                                                                                                                                            Doc 403




LLC / Restaurant                                                 Philadelphia PA 19102
Associates, Inc.
Garces Catering 300,   Conference Facilities, Inc.         $0.00 800 Ridge Pike      Lafayette Hill   Master Services Agreement          Assume   3BM1 Catering, LLC
LLC                                                              PA 19444
                                                                                                                                                                       Document




Garces Catering 300,   50 S. Main Street LLC               $0.00 50 S. Main Street     New Hope PA    Management Agreement ‐ Playhouse   Reject   N/A
LLC                                                              18938                                Inn Property, LLC
Garces Restaurant      Philadelphia 76ers, L.P.            $0.00 1 ‐ 99 S Front Street    Camden      Catering Agreement                 Reject   N/A
Group, Inc.                                                      NJ 08103
Garces [sic]           NCR Silver                          $0.00 864 Spring Street     Atlanta GA     POS Contract at Spruce Street      Assume   3BM1 Management
                                                                 30308                                Harbor                                      Services, LLC
Garces Restaurant      Paycomm Payroll                     $0.00 225 E. John Carpenter Freeway        Payroll Provider                   Assume   3BM1 Management
Group, Inc.                                                      Suite 1500 Irving TX 75062                                                       Services, LLC
                                                                                                                                                                                     Page 44 of 45




Garces Restaurant      Reserve Interactive                 $0.00 3215 Golf Rd Suite 165 Delafield     Event Scheduling Tracking          Assume   3BM1 Management
Group                                                            WI 53018                             Agreement                                   Services, LLC
La Casa Culinary LLC   Thi Quan & Van Hung                 $0.00 7230 Hilltop Road      Upper Darby   License Agreement                  Assume   3BM1 Amada, LLC
                       Hua                                       PA 19082
Garces Restaurant      TrendMicro Antivirus and            $0.00 225 E. John Carpenter Freeway        AntiVirus Protection               Assume   3BM1 Management
Group, Inc.            CMS                                       Suite 1500 Irving TX 75062                                                       Services, LLC
Garces Restaurant      Comstar Technologies            $4,506.71 1155 Phoenixville Pike     West      Phone Services ‐ All Restaurants   Assume   3BM1 Management
                                                                                                                                                                         Filed 07/11/18 Entered 07/11/18 17:53:58




Group, Inc.                                                      Chester PA 19380                                                                 Services, LLC
Garces Restaurant      Hot Schedules                   $1,748.12 3440 Preston Ridge Rd. Suite 350     Employee Scheduling Service        Assume   3BM1 Management
Group, Inc.                                                      Alpharetta GA 30005                  Agreement                                   Services, LLC
Garces Catering 300    ProtoCall                         $460.87 1 Mall Drive Suite 203 Cherry        Vendor Contract                    Assume   Assume
                                                                 Hill NJ 08002
                                                                                                                                                                                            Desc Main




                                                                                                4

3996238
Numerous              The Chef's Warehouse   $246,466.69 240 Food Center Drive      Bronx      Food Purchasing Agreement   Reject                        N/A
                                                         NY 10474
Numerous              Termac Corporation      $13,084.07 7330 Tulip St., Philadelphia PA       Lease, Service and Rental   Reject                        N/A
                                                         19136                                 Agreement
Garces Catering 300   Adam Delosso                     ‐ 123 Marielle Lane     East Norriton   Employee Contract           Assume                        3BM1 Management
                                                         PA 19401                                                                                        Services, LLC
Garces Restaurant     Melissa Scully                   ‐ 2401 Walnut Street Suite 300          Employee Contract           Reject, subject to delivery   N/A
Group, Inc.                                              Philadelphia PA 19103                                             of new employment
                                                                                                                           agreement at closing
                                                                                                                                                                                                Case 18-19054-JNP




Garces Restaurant     Gregg Ciprioni                   ‐ 2401 Walnut Street Suite 300          Employee Contract           Reject, subject to delivery   N/A
Group, Inc.                                              Philadelphia PA 19103                                             of new employment
                                                                                                                           agreement at closing
                                                                                                                                                                                                Doc 403
                                                                                                                                                                           Document      Page 45 of 45
                                                                                                                                                                             Filed 07/11/18 Entered 07/11/18 17:53:58
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